[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]ORDER
CT Page 5316-GGGG
The court finds that the plaintiff wife has the capacity to earn $300 per week gross with a weekly net of $225. Further, that the defendant husband has the capacity to earn a weekly gross of $870 and weekly net of $700.
Based upon the above finding, the court further finds that the child support guidelines would require a support order of $310 per week. The husband's portion would be $234.65.
The court, however, because of the shared custody arrangement, will order a deviation from strict compliance and order the husband to pay $187 per week as child support. He shall further pay to the wife, as alimony, the sum of $50 per week.
The husband shall maintain the wife and children on his medical insurance policy. All unreimbursed medical and dental expenses of the children shall be divided equally.
This order supersedes all previous financial orders of the court.
Mihalakos, J.